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 1                                                         THE HONORABLE _____________________
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 8                                 UNITED STATES DISTRICT COURT
 9                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
10
     BIOORIGYN, LLC, and JOANNA                        )
11   ELLINGTON CLIFTON                                 )
                                                       )
12                                       Plaintiffs,   )
                                                       )      Case No. __________________
13            v.                                       )
                                                       )      COMPLAINT
14   FAIRHAVEN HEALTH, LLC,                            )
                                                       )
15                                     Defendant.      )
                                                       )
16                                                COMPLAINT
17
              Plaintiffs BioOrigyn, LLC (“BioOrigyn”) and Dr. Joanna Ellington Clifton
18
     (“Dr. Ellington”) (collectively, “Plaintiffs”), by their undersigned attorneys, file this Complaint
19
     against defendant Fairhaven Health, LLC (“Defendant” or “Fairhaven”) and allege as follows:
20
                                                 THE PARTIES
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              1.        Plaintiff BioOrigyn, LLC is a limited liability company organized and existing
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     under the laws of the state of Washington, with its principal place of business at 17206 S. Spangle
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     Creek Rd., Valleyford, WA 99036.
24
              2.        Plaintiff Dr. Joanna Ellington Clifton is the founder of BioOrigyn and resides in
25
     the state of Washington.
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     COMPLAINT - 1                                                                  LANE POWELL PC
                                                                             1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                         P.O. BOX 91302
                                                                                SEATTLE, WA 98111-9402
                                                                              206.223.7000 FAX: 206.223.7107
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 1            3.        Upon information and belief, Defendant Fairhaven Health, LLC is a limited

 2   liability company organized and existing under the laws of the state of Washington, with its

 3   principal place of business at 1410 11th St., Bellingham, WA 98225.

 4                                       NATURE OF THE ACTION

 5            4.        Dr. Ellington is a world-renowned scientist in the area of reproduction and

 6   infertility. She is the founder of BioOrigyn, and a named inventor on over a dozen U.S. and

 7   foreign patents. Dr. Ellington’s research led her to develop the world’s first fertility-friendly

 8   lubricant, Pre-Seed, followed by many other scientifically and commercially valuable inventions.

 9            5.        The relationship between the parties was initially limited to Fairhaven serving as

10   a wholesale customer and distributor for BioOrigyn’s Pre-Seed product.

11            6.        Overtime, however, the parties entered into a business collaboration on product

12   development. Specifically, BioOrigyn helped Defendant develop and commercialize various

13   Fairhaven-branded products including Isofresh, BabyIt, BabyDance, and an impending gel

14   product in exchange for royalty payments on the sales of those products.

15            7.        BioOrigyn and Fairhaven executed various agreements in the course of their

16   collaboration—including an Asset Purchase Agreement dated November 25, 2014 (“APA”), a

17   License Agreement dated November 25, 2014 (“2014 License”), and a License Agreement dated

18   January 8, 2015 (“2015 License”).

19            8.        In addition, on May 1, 2015, Fairhaven executed a license agreement with Dr.

20   Ellington, along with her exclusive licensee at the time (Dr. E. Publishing LLC, which is now

21   dissolved), for certain rights in relation to the use of her Name and Likeness, as discussed below

22   (“Likeness License”).

23            9.        On November 19, 2015, Fairhaven provided a written notice to terminate the

24   Likeness License. However, as discussed in more detail below, Dr. Ellington allowed Fairhaven

25   to use her Name and Likeness on an ad hoc basis until June 21, 2017.

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     COMPLAINT - 2                                                                   LANE POWELL PC
                                                                              1420 FIFTH AVENUE, SUITE 4200
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 1             10.      Yet, Fairhaven continues the exploitation of Dr. Ellington’s Name and Likeness

 2   up to present day, and has commercially used her Name and Likeness in false and deceptive

 3   manners.

 4             11.      This cause of action is based on Defendant’s misappropriation of Dr. Ellington’s

 5   name, including her full and formal names, nicknames, or aliases 1 (“Name”), image, signature,

 6   voice, likeness and other representations (collectively, “Likeness”), and Defendant’s false

 7   advertising and deceptive commercial practices related to the unauthorized and commercial use

 8   and distribution of her Name and Likeness.

 9             12.      Plaintiffs seek injunctive relief, damages and such other relief as the Court deems

10   proper.

11             13.      This action arises under the Lanham Act, 15 U.S.C. § 1125 et seq. as well as state

12   law claims under Washington law.

13                                      JURISDICTION AND VENUE

14             14.      This Court has jurisdiction over the subject matter of this action pursuant to 15

15   U.S.C. §§ 1121, 1125. This Court has supplemental jurisdiction over Plaintiffs’ claims under the

16   laws of the State of Washington pursuant to 28 U.S.C. § 1367.

17             15.      This Court has personal jurisdiction over Defendant because Defendant has

18   previously submitted to the jurisdiction of this Court.

19             16.      For example, Defendant has previously submitted to the jurisdiction of this Court,

20   including in a pending litigation between Fairhaven and BioOrigyn concerning issues arising

21   from the 2014 License and the 2015 License. See Fairhaven Health LLC v. BioOrigyn, LLC et

22   al, Civil Action No. 19-cv-01860-RAJ.

23             17.      Personal jurisdiction over Defendant is also proper, because, on information and

24   belief, Defendant has a principal place of business in this district, has transacted and done

25
     1
       Other than her legal name, Dr. Ellington has also used names such as “Dr. J. Ellington,” “Dr.
26   E,” and “Dr. JE Ellington” in publications and public engagement. Unless otherwise clarified,
     this Complaint will address her by Dr. Ellington and reference the names in a collective
27   manner.
     COMPLAINT - 3                                                               LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                      P.O. BOX 91302
                                                                                 SEATTLE, WA 98111-9402
                                                                               206.223.7000 FAX: 206.223.7107
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 1   business in this district, has continuous and systematic contacts within this district, and has

 2   wrongfully caused injury to Plaintiffs in the State of Washington and in this district.

 3            18.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c) because

 4   Defendant transacts business in and/or has substantial contacts with and/or may be found in the

 5   State of Washington and this district. Venue is also proper because Defendant has and continues

 6   to advertise, promote, display, ship, offer for sale, and sell its products based on misappropriation

 7   of Dr. Ellington’s Name and Likeness in the State of Washington and this district.

 8                           FACTS COMMON TO ALL CLAIMS FOR RELIEF

 9   A.       Plaintiffs’ Activities

10            19.       BioOrigyn was formed in 2001. Dr. Ellington—the founder of BioOrigyn—has

11   devoted herself to research and development activities at BioOrigyn. Dr. Ellington specializes

12   in identifying areas of need in reproductive and genital health, and developing safer, more

13   effective alternatives to existing technologies. Based on Dr. Ellington’s research, BioOrigyn

14   through various distribution and license agreements offers various fertility-friendly and/or

15   feminine care products, including Pre-Seed, Therio-gel, BabyIt, BabyDance, and IsoFresh.

16            20.       Dr. Ellington is widely respected and well-known in her field. For example, she

17   has appeared as an expert on National Geographic’s television documentary “The Great Sperm

18   Race,” and NPR RadioLab’s “Why so Many Sperm.” In 2003, Dr. Ellington received the

19   internationally-selected Young Andrologist Award from the American Society of Andrology.

20   Dr. Ellington has been a featured blogger at BlogHer.com, and published a book titled Slippery

21   When Wet.         In addition, Dr. Ellington has authored or co-authored over fifty scientific

22   publications.

23            21.       Echoing its founder’s passion, BioOrigyn embraces industry collaboration to

24   bring novel inventions to the public.

25   B.       Business Relationship between the Parties

26            22.       BioOrigyn and Defendant have collaborated on developing and commercializing

27   products.
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 1            23.       On October 15, 2014, BioOrigyn and Defendant entered into a Consulting

 2   Agreement for BioOrigyn to provide advisory services to Defendant.

 3            24.       On November 25, 2014, BioOrigyn and Defendant entered into the 2014 License,

 4   which granted Defendant, among other things, an exclusive license to certain patents. BabyIt—

 5   a commercial product currently offered by Fairhaven—practices at least one patent licensed

 6   under the 2014 License.

 7            25.       BioOrigyn and Defendant also entered into the APA on November 25, 2014,

 8   which, among other things, transferred assets, including trademarks, related to a product brand—

 9   IsoLove—from BioOrigyn to Defendant.

10            26.       On January 8, 2015, BioOrigyn and Defendant entered into the 2015 License,

11   which granted Defendant, among other things, an exclusive license to certain patents.

12   Commercial products of Fairhaven, including IsoFresh and BabyDance, were later developed by

13   the parties and practice patents licensed under the 2015 License.

14            27.       On information and belief, Defendant has greatly benefited from the collaboration

15   with BioOrigyn including, without limitation, profiting through selling brand-named products

16   and claiming the standing of a “trusted provider[] of non-prescription fertility solutions and

17   pregnancy health products.” 2

18            28.       Defendant currently sells commercial products IsoFresh, BabyIt and

19   BabyDance—each developed by BioOrigyn as part of the collaboration with Defendant.

20   IsoFresh is marketed as a balancing vaginal gel; BabyIt is marketed as a perineal massage and

21   postpartum comfort gel; and BabyDance is marketed as a fertility lubricant.

22            29.       Upon information and belief, IsoFresh was first offered for sale in or around

23   October 2016, BabyIt was first offered for sale in or around January 2017, and BabyDance was

24

25
     2
26     Our Medical Health Advisors, Fairhaven Health, https://www.fairhavenhealth.com/advisors
     (last visited Feb. 5, 2020), archived at WayBackMachine (Sept. 4, 2018),
27   https://web.archive.org/web/20180904082703/https://www.fairhavenhealth.com/advisors.
     COMPLAINT - 5                                                             LANE POWELL PC
                                                                        1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                    P.O. BOX 91302
                                                                                SEATTLE, WA 98111-9402
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 1   first offered for sale in or around October 2017. Defendant has marketed IsoFresh, BabyIt and

 2   BabyDance under the IsoLove brand name (collectively, “the IsoLove products”).

 3            30.       Upon information and belief, Defendant was unable to develop and market under

 4   its own name any fertility-friendly or topical gel-based feminine hygiene product until its

 5   collaboration with BioOrigyn.

 6            31.       Upon information and belief, Defendant sought collaboration with BioOrigyn in

 7   part because of Dr. Ellington’s expertise and prestige in the industry. In the course of expanding

 8   their collaboration, the parties discussed how Dr. Ellington could facilitate Defendant in

 9   successfully commercializing products.

10            32.       On May 1, 2015, Dr. Ellington and Defendant entered into the Likeness License,

11   which granted Defendant, among other things, the right to use Dr. Ellington’s Name and Likeness

12   in relation to certain products, including a product called “FertilAid for Men,” and subject to

13   certain restrictions, including that Fairhaven would not use Dr. Ellington’s Name or Likeness to

14   endorse or approve any product or service of Fairhaven without Dr. Ellington’s written

15   permission and that Defendant shall use all reasonable efforts to preserve the goodwill and

16   integrity associated with her Name and Likeness. See Exhibit 1, Section 2.

17            33.       In addition, pursuant to the terms of the Likeness License (Section 4), Defendant

18   was obligated to make a monthly payment for use of Dr. Ellington’s Name and Likeness.

19            34.       In November 2015, Defendant terminated the Likeness License claiming that it

20   had not done much with Dr. Ellington’s Name and Likeness.

21            35.       However, Defendant did not stop using Dr. Ellington’s Name and Likeness after

22   termination of the Likeness License. Upon information and belief, as BioOrigyn and Fairhaven

23   continued to collaborate on various products, Defendant continued to use and profit from the

24   fame, recognition, and respect of Dr. Ellington in its marketing activities.

25            36.       Dr. Ellington sought to rein in potential misuse of her Name and Likeness when

26   she uncovered Defendant’s failure to respect the terms and termination of the Likeness License.

27   Specifically, in view of the long-term business relationship between Defendant and BioOrigyn,
     COMPLAINT - 6                                                                  LANE POWELL PC
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 1   Dr. Ellington agreed to permit Defendant’s use of her Name and Likeness on specified products

 2   at no additional cost if such use was appropriate in a given circumstance. But Defendant abused

 3   this ad hoc permission.        Among other things, Defendant repeatedly failed to provide its

 4   contemplated use of her Name and Likeness for Dr. Ellington’s prior approval, and pursued

 5   exaggerated product marketing materials relying on the good name of Dr. Ellington. As such,

 6   on June 21, 2017, Dr. Ellington terminated any permission she had previously granted, and

 7   requested that Defendant discontinue using her Name and Likeness for any and all products.

 8   Defendant acknowledged this request, but failed to stop using Dr. Ellington’s Name and

 9   Likeness.

10   C.       Defendant’s misuse of Dr. Ellington’s Name and Likeness

11            37.       To this day, Defendant continues to misuse Dr. Ellington’s Name and Likeness.

12   For example, Defendant has continued to use Dr. Ellington’s Name and Likeness on products

13   that were once covered by the terminated Likeness License (i.e., FertilAid for Men; see infra at

14   C.2.). Defendant has also used Dr. Ellington’s Name and Likeness to promote the IsoLove

15   products without authorization (i.e., BabyIt, IsoFresh, and BabyDance; see infra at C.1.).

16            38.       In addition to product related uses, Defendant more generally referenced Dr.

17   Ellington’s Name and Likeness as a trusted “Medical Health Advisor.” Defendant identified its

18   Medical Health Advisors as a key reason that it “is among the most trusted providers of non-

19   prescription fertility solutions and pregnancy health products.” Upon information and belief, as

20   recent as May 2019, Defendant publicized Dr. Ellington as its Medical Health Advisor and used

21   her Name and Likeness in the following manner to gain the publics’ trust: 3

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      See WayBackMachine (Sept. 4, 2018),
27   https://web.archive.org/web/20180904082703/https://www.fairhavenhealth.com/advisors.
     COMPLAINT - 7                                                          LANE POWELL PC
                                                                     1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                 P.O. BOX 91302
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              39.       In fact, Dr. Ellington was never formally appointed a “Medical Health Advisor”
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     of Fairhaven. Defendant not only invented this title but also publicized the false association with
15
     Dr. Ellington. For example, Defendant spotlights Dr. Ellington as a “fertility expert at Fairhaven
16
     Health” in the Newsroom section of its website. 4
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      Newsroom, Fairhaven Health, https://www.fairhavenhealth.com/newsroom/ (last visited Feb.
25   5, 2020), archived at WayBackMachine (Feb. 3, 2020),
     https://web.archive.org/web/20200203215245/https://www.fairhavenhealth.com/newsroom/;
26   see also Samantha Darby, Can Coconut Oil Help Prevent Tearing? Your Perineal Massage
     Might Need Some Help, Romper, available at https://www.fairhavenhealth.com/wp-
27   content/uploads/coconutoil-perinealmassage.pdf.
     COMPLAINT - 8                                                          LANE POWELL PC
                                                                     1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                 P.O. BOX 91302
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 1            40.       In addition, on its website Defendant referenced several original articles of

 2   Dr. Ellington. 5 Upon information and belief, Dr. Ellington allowed Defendant to display the

 3   content of these articles pursuant to and during the term of the Likeness License. See Exhibit 1,

 4   Sections 2-3, 9(i). Defendant nonetheless continues to use these articles after it terminated the

 5   agreement. Upon information and belief, as recent as September 2019, Defendant also used

 6   Dr. Ellington’s Name and Likeness along with these articles to create a false impression that

 7   Dr. Ellington serves as a Medical Health Advisor of Fairhaven and that she approves the products

 8   mentioned in the articles (Exhibit 2).

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17     See e.g., Joanna Ellington, A Needle in a Hay Stack…Finding Your Most Fertile Day,
     Fairhaven Health, https://www.fairhavenhealth.com/ovulation-prediction-your-most-fertile-day
18   (last visited Feb. 18, 2020), archived at WayBackMachine (Feb. 18, 2020),
     https://web.archive.org/web/20200218185904/https://www.fairhavenhealth.com/ovulation-
19   prediction-your-most-fertile-day; Joanna Ellington, Beating Polycystic Ovary Syndrome with
     the Rule of 5, Fairhaven Health, https://www.fairhavenhealth.com/beating-polycystic-ovary-
20   syndrome (last visited Feb. 18, 2020), archived at WayBackMachine (Feb. 18, 2020),
     https://web.archive.org/web/20200218190530/https://www.fairhavenhealth.com/beating-
21   polycystic-ovary-syndrome; Joanna Ellington, Cervical Mucus, Creating the Pathway to
     Fatherhood, Fairhaven Health, https://www.fairhavenhealth.com/cervical-mucus-pathway-
22   fatherhood (last visited Feb. 18, 2020), archived at WayBackMachine (Feb. 18, 2020),
     https://web.archive.org/web/20200218190951/https://www.fairhavenhealth.com/cervical-
23   mucus-pathway-fatherhood; Joanna Ellington, Perineal Massage Made Easy, Fairhaven
     Health, https://www.fairhavenhealth.com/perineal-massage-made-easy/ (last visited Feb. 18,
24   2020), archived at WayBackMachine (Feb. 18, 2020),
     https://web.archive.org/web/20200218191153/https://www.fairhavenhealth.com/perineal-
25   massage-made-easy/; and Joanna Ellington, Perineal Massage Made Easy Part 2, Fairhaven
     Health, https://www.fairhavenhealth.com/perineal-massage-made-easy2 (last visited Feb. 18,
26   2020), archived at WayBackMachine (Feb. 18, 2020),
     https://web.archive.org/web/20200218191322/https://www.fairhavenhealth.com/perineal-
27   massage-made-easy2.
     COMPLAINT - 9                                                              LANE POWELL PC
                                                                         1420 FIFTH AVENUE, SUITE 4200
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                        1.     The IsoLove product line
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21            41.       Upon information and belief, Fairhaven started selling the IsoLove products in
22   the second half of 2016, and has since used Dr. Ellington’s Name and Likeness in the distribution,
23   marketing, promotion, offering for sale and sale of the IsoLove products, including BabyIt,
24   IsoFresh, and BabyDance.
25            42.       For example, on October 11, 2016, Fairhaven through an online press release
26   distribution service issued a Press Release entitled “Fairhaven Health Launches New Brand,
27
     COMPLAINT - 10                                                               LANE POWELL PC
                                                                           1420 FIFTH AVENUE, SUITE 4200
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                                                                              SEATTLE, WA 98111-9402
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 1   IsoLove; Revolutionary Isotonic and Paraben-Free Feminine Care Products.” 6 The press release

 2   states that IsoFresh, sold under the IsoLove brand, was developed by Dr. Joanna Ellington—

 3   “acclaimed Reproductive Physiologist.” The press release was issued for the inaugural product

 4   in the IsoLove line (IsoFresh) and elaborated on Dr. Ellington’s involvement in the product

 5   development process. A follow-up press release on January 23, 2017, 7 again, featured Dr.

 6   Ellington, essentially making her the public face of the IsoLove product line. By doing so,

 7   Fairhaven not only launched a product line, but also a marketing campaign in which Dr. Ellington

 8   was spotlighted as an endorser of the IsoLove brand.

 9            43.       Upon information and belief, Defendant distributes the IsoLove products in a

10   number of ways including, among others, on its website (https://www.fairhavenhealth.com/), on

11   another website it created exclusively for the IsoLove brand (https://www.myisolove.com/), on

12   its                                       Amazon                                            storefront

13   (https://www.amazon.com/stores/node/2591657011?_encoding=UTF8&field-

14   lbr_brands_browse-bin=Fairhaven%20Health&ref_=bl_dp_s_web_2591657011), as well as on

15   the distribution platforms operated by Fairhaven’s partnered distributors, including an Ebay store

16   operated under the name Early-Pregnancy-Tests (https://www.early-pregnancy-tests.com/ and

17   http://www.ebaystores.com/Early-Pregnancy-Tests).

18            44.       Upon information and belief, Defendant has misused Dr. Ellington’s Name and

19   Likeness in its advertising materials for the IsoLove products, including on the packaging of the

20   IsoLove products.

21            45.       Defendant uses Dr. Ellington’s Name and Likeness on the packaging of BabyIt

22   without authorization. As shown below, as of November 2019, a product purchased from the

23   Fairhaven Health Amazon storefront bears the Name of Dr. Ellington, along with descriptions of

24   6
       See Fairhaven Health, Fairhaven Health Launches New Brand, IsoLove; Revolutionary
     Isotonic and Paraben-Free Feminine Care Products, PRWeb, available at
25   https://www.fairhavenhealth.com/wp-content/uploads/isolove-announcement.pdf (Exhibit 3).
     7
26     See Fairhaven Health, IsoLove by Fairhaven Health Launches BabyIt; Maternity &
     Postpartum Comfort Gel, PRWeb, available at
27   https://www.prweb.com/pdfdownload/14003609.pdf (Exhibit 4).
     COMPLAINT - 11                                                         LANE POWELL PC
                                                                     1420 FIFTH AVENUE, SUITE 4200
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                                                                             SEATTLE, WA 98111-9402
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 1   BabyIt provided in the form of an endorsement. This product endorsement remains on the

 2   packaging of a BabyIt product purchased from Amazon in January 2020.

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     COMPLAINT - 12                                                         LANE POWELL PC
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     CASE NO.                                                                 P.O. BOX 91302
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24            46.       Moreover, the MyIsoLove website used Dr. Ellington’s Name and Likeness to

25   promote the BabyIt product. 8

26   8
      Fairhaven Health, BabyIt Perineal Massage and Postpartum Recovery Gel, MyIsoLove.com,
     https://www.myisolove.com/babyit-perineal-massage-postpartum-care (last visited Feb. 5,
27   2020), archived at WayBackMachine (June 19, 2019),
     COMPLAINT - 13                                                        LANE POWELL PC
                                                                    1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                P.O. BOX 91302
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 5            47.       In addition, Defendant included a product endorsement on the MyIsoLove website
 6   to promote IsoFresh with Dr. Ellington’s Name and Likeness. 9
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              48.       The MyIsoLove website included additional product endorsement for IsoFresh
12
     using Dr. Ellington’s Name and Likeness. 10
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18            49.       Upon information and belief, Dr. Ellington made the foregoing remarks to
19   facilitate the debut of IsoFresh (see supra at ¶ 42). Defendant used this language as an
20   endorsement by Dr. Ellington. Defendant eventually removed Dr. Ellington’s name from the
21

22   https://web.archive.org/web/20190619042614/https://www.myisolove.com/babyit-perineal-
     massage-postpartum-care.
23   9
       Fairhaven Health, IsoLove = pure. simple. safe., MyIsoLove.com,
     https://www.myisolove.com/ (last visited Feb. 5, 2020), archived at WayBackMachine (Sept.
24   29, 2017), https://web.archive.org/web/20170929210602/https://www.myisolove.com/.
     10
25      Fairhaven Health, Control Yeast, Balance Bacteria, and Stop Odor With IsoFresh Balancing
     Gel!, MyIsoLove.com, https://www.myisolove.com/isofresh-balancing-gel (last visited Feb. 5,
26   2020), archived at WayBackMachine (Mar. 25, 2017),
     https://web.archive.org/web/20170325043057/https://www.myisolove.com/isofresh-balancing-
27   gel/.
     COMPLAINT - 14                                                             LANE POWELL PC
                                                                         1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                     P.O. BOX 91302
                                                                              SEATTLE, WA 98111-9402
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 1   above quote but continued to use her words, without proper attribution, as a product

 2   endorsement. 11

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              50.       Upon information and belief, the MyIsoLove website continues to misuse
 9
     Dr. Ellington’s Name and Likeness through at least February 2020. 12
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20   11
        Fairhaven Health, Control Yeast, Balance Bacteria, and Stop Odor With IsoFresh Balancing
     Gel!, MyIsoLove.com, https://www.myisolove.com/isofresh-balancing-gel (last visited Feb. 5,
21   2020), archived at WayBackMachine (Feb. 4, 2020),
     https://web.archive.org/web/20200204004150/https://www.myisolove.com/isofresh-balancing-
22   gel.
     12
23      Fairhaven Health, Vaginal Balance & Ecosystem, MyIsoLove.com,
     https://www.myisolove.com/vaginal-balance-ecosystem (last visited Feb. 5, 2020), archived at
24   WayBackMachine (Jan. 30, 2020),
     https://web.archive.org/web/20200130002128/https://www.myisolove.com/vaginal-balance-
25   ecosystem; Fairhaven Health, APM Improves Birth Outcomes, MyIsoLove.com,
     https://www.myisolove.com/apm-improves-birth-outcomes (last visited Feb. 5, 2020), archived
26   at WayBackMachine (Feb. 4, 2020),
     https://web.archive.org/web/20200204141401/https://www.myisolove.com/apm-improves-
27   birth-outcomes.
     COMPLAINT - 15                                                           LANE POWELL PC
                                                                       1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                   P.O. BOX 91302
                                                                              SEATTLE, WA 98111-9402
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     133018.0001/7977144.1
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15            51.       Upon information and belief, the Ebay store of Early-Pregnancy-Tests is operated
16   for the benefit of and controlled by Defendant. Early-Pregnancy-Tests states on its Ebay store
17   page that it is “owned by Fairhaven Health.” 13 As of February 2020, the Ebay store of Early-
18   Pregnancy-Tests continues to use Dr. Ellington’s Name and Likeness to sell the BabyIt and
19   IsoFresh products. 14
20
     13
        Early Pregnancy Tests, TTC Supplements, Ebay.com , http://www.ebaystores.com/Early-
21   Pregnancy-Tests (last visited Feb. 5, 2020), archived at WayBackMachine (Jan. 29, 2020),
     https://web.archive.org/web/20200129235515/http://www.ebaystores.com/Early-Pregnancy-
22   Tests.
     14
        Early Pregnancy Tests, Fairhaven Health Babyit Perineal Massage Postpartum Recovery
23   Gel ph Balanced, Ebay.com, https://www.ebay.com/itm/Fairhaven-Health-Babyit-Perineal-
     Massage-Postpartum-Recovery-Gel-ph-Balanced-/192286962838?hash=item2cc5323496 (last
24   visited Feb. 5, 2020), archived at WayBackMachine (Jan. 29, 2020),
     https://web.archive.org/web/20200129235457/https://www.ebay.com/itm/Fairhaven-Health-
25   Babyit-Perineal-Massage-Postpartum-Recovery-Gel-ph-Balanced-
     /192286962838?hash=item2cc5323496; Early Pregnancy Tests, Fairhaven Health Isofresh
26   Balancing Vaginal Gel Cleanse Stay Fresh Odor Free, Ebay.com,
     https://www.ebay.com/itm/Fairhaven-Health-Isofresh-Balancing-Vaginal-Gel-Cleanse-Stay-
27   Fresh-Odor-Free-/201915356498?hash=item2f0317d552 (last visited Feb. 5, 2020), archived at
     COMPLAINT - 16                                                            LANE POWELL PC
                                                                        1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                    P.O. BOX 91302
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     WayBackMachine (Jan. 29, 2020),
26   https://web.archive.org/web/20200129235644/https://www.ebay.com/itm/Fairhaven-Health-
     Isofresh-Balancing-Vaginal-Gel-Cleanse-Stay-Fresh-Odor-Free-
27   /201915356498?hash=item2f0317d552.
     COMPLAINT - 17                                                        LANE POWELL PC
                                                                    1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                P.O. BOX 91302
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 1            52.       The above identified marketing activities (supra ¶¶ 43-51) were not permitted by

 2   Dr. Ellington and/or BioOrigyn. In entering into the collaboration with Defendant, BioOrigyn

 3   made clear that Defendant should not publicize its relationship with BioOrigyn and shall not

 4   identify BioOrigyn on any packaging or marketing materials. As discussed above, the Likeness

 5   License allowed Fairhaven to use Dr. Ellington’s Name and Likeness for limited purposes in

 6   connection with specific products, which did not include any of the IsoLove products. And, as

 7   of June 2017, Dr. Ellington specifically requested that Defendant discontinue referencing her in

 8   all marketing activities. Fairhaven nevertheless capitalized on her Name and Likeness for the

 9   sales of the IsoLove products, despite Dr. Ellington’s request to cease all uses of her Name and

10   Likeness.

11            53.       Upon information and belief, Fairhaven organized a marketing campaign of the

12   IsoLove products centered around Dr. Ellington’s reputation as an expert in the field, including

13   the repeated unauthorized use of her Name and Likeness to endorse the IsoLove products. This

14   marketing campaign can be found on the websites directly controlled by Defendant (e.g., supra

15   ¶¶ 46-51), and on corporate and business affiliates of Defendant. As an example, the American

16   Pregnancy Association, which is sponsored by IsoLove, promotes the IsoLove products as being

17   “[f]ormulated by the celebrated Reproductive Physiologist, Dr. Joanna Ellington.” 15 Upon

18   information and belief, Defendant allowed other media channels and distribution networks to

19   utilize Defendant’s marketing materials including Dr. Ellington’s Name and Likeness. For

20   example, upon information and belief, “Baby4You,” “National Fertility Society,” and Health

21   Monthly are each an authorized distributor of Defendant’s products, and each of them references

22   Dr. Ellington in promoting Defendant’s products. 16

23
     15
        IsoLove, American Pregnancy Association, https://americanpregnancy.org/corp-
24   sponsors/isolove/ (last visited Feb. 5, 2020), archived at WayBackMachine (Jan. 29, 2020),
     https://web.archive.org/web/20200129235819/https://americanpregnancy.org/corp-
25   sponsors/isolove/.
     16
        Retailers & Distributors, Fairhaven Health,
26   https://www.fairhavenhealth.com/currentretanddist?_ga=2.217166870.1079900238.157133504
     8-140607404.1558444973&_gac=1.2763652.1571339312.EAIaIQobChMIl6jwh_-
27   j5QIVS73ACh3pngFwEAAYASAAEgK13vD_BwE#international-distributors (last visited
     COMPLAINT - 18                                                            LANE POWELL PC
                                                                        1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                    P.O. BOX 91302
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     133018.0001/7977144.1
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 1            54.       To promote BabyDance, the Baby4You website promotes the connection between

 2   the BabyDance product and Dr. Ellington: “Developed under the direction of Dr. Joanna

 3   Ellington, the original inventor and owner of the Pre-Seed brand…” 17 Upon information and

 4   belief, numerous other websites make similar statements.

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              55.       The website of National Fertility Society also cites to Dr. Ellington in selling the
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     BabyIt product: 18
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18
     Feb. 5, 2020), archived at WayBackMachine (Feb. 5, 2020)
19   https://web.archive.org/web/20200205212422/https://www.fairhavenhealth.com/currentretandd
     ist?_ga=2.217166870.1079900238.1571335048-
20   140607404.1558444973&_gac=1.2763652.1571339312.EAIaIQobChMIl6jwh_-
     j5QIVS73ACh3pngFwEAAYASAAEgK13vD_BwE%23international-distributors.
21   17
        BabyDance Fertility Lubricant - NEW from the Inventor of Pre~Seed, Baby4You,
     https://www.baby4you.co.nz/shop/Trying+to+Conceive/Fertility+Friendly+Lubricants/BabyDa
22   nce+Fertility+Lubricant+-+NEW+from+the+Inventor+of+Pre~Seed.html (last visited Feb. 5,
     2020), archived at WayBackMachine (Jan. 30, 2020),
23   https://web.archive.org/web/20200130000550/https://www.baby4you.co.nz/shop/Trying+to+C
     onceive/Fertility+Friendly+Lubricants/BabyDance+Fertility+Lubricant+-
24   +NEW+from+the+Inventor+of+Pre~Seed.html.
     18
25      BabyIt Perineal Massage and Postpartum Recovery Gel, National Fertility Society,
     https://www.nationalfertilitysociety.co.uk/product/babyit-perineal-massage-and-postpartum-
26   recovery-gel (last visited Feb. 5, 2020), archived at WayBackMachine (Feb. 5, 2020),
     https://web.archive.org/web/*/https://www.nationalfertilitysociety.co.uk/product/babyit-
27   perineal-massage-and-postpartum-recovery-gel.
     COMPLAINT - 19                                                              LANE POWELL PC
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     CASE NO.                                                                      P.O. BOX 91302
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 1            56.       Similarly, the website of Health Monthly introduces in its product listing “[a]

 2   message from Dr. Joanna Ellington, Inventor of IsoFresh”: 19

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 9            57.       Thus, Defendant’s exploitation of Dr. Ellington’s Name and Likeness has led to

10   widespread unauthorized use of her Name and Likeness around the IsoLove products.

11                      2.     FertilAid for Men

12            58.       Upon information and belief, Fairhaven started selling FertilAid for Men in or

13   before 2003, as a supplement to support male fertility. Defendant has used Dr. Ellington’s Name

14   and Likeness in the distribution, marketing, promotion, offering for sale and sale of this product.

15            59.       Upon information and belief, Defendant distributes FertilAid for Men in a number

16   of ways including, among others, on its website, a website it created exclusively for the FertilAid

17   branded products (https://www.fertilaid.com/), its Amazon storefront, and on various other

18   distribution platforms operated by Fairhaven’s partnered distributors, including Early-

19   Pregnancy-Tests (see supra at ¶ 43). In addition, as further discussed below, Defendant was able

20   to offer this product for sale in retail at Target and other stores by capitalizing on Dr. Ellington’s

21   Name and Likeness.

22            60.       FertilAid for Men was one of the Approved Products as defined in the Likeness

23   License, but Defendant went beyond the terms of the approval by using Dr. Ellington’s Name

24
     19
25      IsoLove IsoFresh Balancing Vaginal Gel, Health Monthly,
     https://www.healthmonthly.co.uk/fairhaven_health_isolove_isofresh_balancing_vaginal_gel
26   (last visited Feb. 11, 2020), archived at WayBackMachine (Feb. 11, 2020),
     https://web.archive.org/web/20200211220112/https://www.healthmonthly.co.uk/fairhaven_heal
27   th_isolove_isofresh_balancing_vaginal_gel.
     COMPLAINT - 20                                                            LANE POWELL PC
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     CASE NO.                                                                    P.O. BOX 91302
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     133018.0001/7977144.1
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 1   and Likeness to publicly endorse the product. For example, as recently as February 12, 2019,

 2   Defendant’s website used Dr. Ellington’s Name and Likeness to endorse FertilAid for Men by

 3   stating “I recommend all trying-to-conceive men take . . . FertilAid for Men.” 20

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              61.       As another example, Defendant’s website includes numerous references to
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     Dr. Ellington and her involvement in a clinical study. Under a section of Defendant’s website
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     entitled “FertilAid for Men Clinical Study,” Defendant purports to quote from Dr. Ellington: 21
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              62.       In yet another section of Defendant’s website entitled “FertilAid Resources And
17
     Scientific Literature,” Defendant purports to use quotes from Dr. Ellington: 22
18
19

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     20
        Fairhaven Health, Why FertilAid For Men?, FertilAid.com, https://www.fertilaid.com/why-
21   fertilaid-men (last visited Feb. 5, 2020), archived at WayBackMachine (Jul. 29, 2019),
     https://web.archive.org/web/20190729114825/https://www.fertilaid.com/why-fertilaid-men.
22   21
        Fairhaven Health, FertilAid For Men Clinical Study, FertilAid.com,
     https://www.fertilaid.com/fertilaid-men-clinical-study (last visited Feb. 5, 2020), archived at
23   WayBackMachine (Jan. 30, 2020),
     https://web.archive.org/web/20200130011640/https://www.fertilaid.com/fertilaid-men-clinical-
24   study.
     22
25      Fairhaven Health, FertilAid Resources And Scientific Literature, FertilAid.com,
     https://www.fertilaid.com/fertilaid-resources-and-scientific-literature (last visited Feb. 5, 2020),
26   archived at WayBackMachine (Jan. 30, 2020),
     https://web.archive.org/web/20200130011607/https://www.fertilaid.com/fertilaid-resources-
27   and-scientific-literature.
     COMPLAINT - 21                                                                LANE POWELL PC
                                                                            1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                        P.O. BOX 91302
                                                                               SEATTLE, WA 98111-9402
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     133018.0001/7977144.1
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 6            63.       Defendant went so far as to promote a “Testimonial by Dr. J. Ellington” and have
 7   Dr. Ellington declare that FertilAid For Men “has the critical supplements that have been shown
 8   to be effective in assisting sperm production.” 23
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16            64.       The above identified marketing activities (supra ¶¶ 59-63) were not authorized by

17   Dr. Ellington and/or BioOrigyn. The Likeness License allowed Fairhaven to use Dr. Ellington’s

18   Name and Likeness in connection with FertilAid for Men, but was terminated and did not allow

19   for product endorsements. As discussed, Dr. Ellington allowed use of her Name and Likeness

20   on an ad hoc basis until June 21, 2017. Fairhaven nevertheless capitalized on Dr. Ellington’s

21   Name and Likeness for the sales of FertilAid for Men, despite Defendant terminating the

22   Likeness License and Dr. Ellington’s request to cease all uses.

23            65.       Upon information and belief, Defendant’s websites including the FertilAid

24   website continue to misuse Dr. Ellington’s Name and Likeness through at least February 2020.

25
     23
        Fairhaven Health, Testimonial By Dr. J. Ellington, FertilAid.com,
26   https://www.fertilaid.com/category/newsroom (last visited Feb. 5, 2020), archived at
     WayBackMachine (Jan. 30, 2020),
27   https://web.archive.org/web/20200130005756/https://www.fertilaid.com/category/newsroom.
     COMPLAINT - 22                                                              LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                      P.O. BOX 91302
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 1            66.       Upon information and belief, Defendant also allowed other media channels and

 2   distribution networks to utilize Defendant’s marketing materials including Dr. Ellington’s Name

 3   and Likeness. For example, the website of Early-Pregnancy-Tests references Dr. Ellington to

 4   promote FertilAid for Men. 24

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              67.       Another website titled “Fertilaid.Weebly.com” incorporates similar reference to
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     Dr. Ellington as do many other Fairhaven affiliated websites and distributors. 25
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15            68.       Thus, in marketing FertilAid For Men, Defendant’s exploitation of Dr. Ellington’s
16   Name and Likeness has led to widespread unauthorized use of her Name and Likeness. Among
17   other harm, Dr. Ellington and BioOrigyn have been financially damaged for not being
18   compensated for the use of her Name and Likeness.
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     24
        Clinical Research on FertilAid Suggests Increased Sperm Health, Early-Pregnancy-Tests,
24   https://www.early-pregnancy-tests.com/research (last visited Feb. 5, 2020), archived at
     WayBackMachine (Feb. 5, 2020)
25   https://web.archive.org/web/20200205233912/https://www.early-pregnancy-tests.com/research.
     25
26      FertilAid Fertility Supplement, FertilAid.Weebly.com, http://fertilaid.weebly.com/ (last
     visited Feb. 5, 2020), archived at WayBackMachine (Jan. 30, 2020),
27   https://web.archive.org/web/20200130003018/http://fertilaid.weebly.com/.
     COMPLAINT - 23                                                               LANE POWELL PC
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     CASE NO.                                                                       P.O. BOX 91302
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 1   D.       Defendant’s false advertising and deceptive business practices

 2                      1.     The IsoLove product line

 3            69.       Upon information and belief, using Dr. Ellington’s Name and Likeness,

 4   Defendant has falsely advertised the IsoLove products to the detriment of Dr. Ellington and

 5   BioOrigyn.

 6            70.       As an example, Fairhaven advertises BabyIt as a perineal massage gel that has

 7   “no irritation potential,” 26 which Dr. Ellington believed to be true when she formulated the

 8   product. However, upon information and belief, user feedback informed Fairhaven of the

 9   likelihood of irritation caused by BabyIt. Dr. Ellington learned of such feedback from Fairhaven

10   and, in response, fine-tuned the formulation of BabyIt to prevent irritation. Upon information

11   and belief, on more than one occasion, Dr. Ellington urged Fairhaven to adopt the modified

12   formula to protect the women who use BabyIt. But Defendant elected not to change the

13   product—it continued claiming that BabyIt has “no irritation potential,” and continues to

14   incorporate a comment from Dr. Ellington on the BabyIt packaging, including telling customers

15   that BabyIt is designed to be irritation free. (See supra at ¶ 45.) Consumers who purchased

16   BabyIt for its non-irritation potential may later experience the opposite, harming Dr. Ellington’s

17   reputation because Defendant includes a statement from Dr. Ellington on the packaging of BabyIt

18   touting its lack of irritation. Defendant’s false and/or misleading advertising of BabyIt harms

19   BioOrigyn and Dr. Ellington, because Defendant’s unauthorized use of her Name and Likeness

20   has inextricably linked BioOrigyn and Dr. Ellington to this product.

21            71.       In addition, Defendant promotes the BabyDance product in a deceptive manner.

22   As discussed, Dr. Ellington invented and developed a product called Pre-Seed, which is a fertility

23   friendly personal lubricant. Upon information and belief, Defendant has acted as a distributor

24   for the Pre-Seed product since 2003. As the popularity of Pre-Seed grew, Defendant became a

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     26
27    See supra at 8.
     COMPLAINT - 24                                                                LANE POWELL PC
                                                                            1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                        P.O. BOX 91302
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 1   leading online seller for this product. This changed, however, when Defendant launched

 2   BabyDance—a product sold under the IsoLove brand name.

 3            72.       Upon information and belief, to capitalize on the well-respected Pre-Seed name,

 4   Defendant set up a product listing page for Pre-Seed in which it informs customers that it is “out

 5   of stock of Pre-Seed” and “would highly recommend the BabyDance Fertility Lubricant

 6   instead.” 27 Upon information and belief, this statement was false because Defendant’s Ebay store

 7   (Early-Pregnancy-Tests) still made Pre-Seed available for sale. 28 Upon information and belief,

 8   this statement was also false because Defendant implies that it will replenish the Pre-Seed

 9   product, but in fact, has discontinued offering Pre-Seed. Upon information and belief, Defendant

10   continues to list the Pre-Seed product solely to trade on the reputation of the Pre-Seed name in

11   an attempt to boost the sales of BabyDance. Upon information and belief, Defendant’s webpage

12   is meant to mislead the public by drawing Internet traffic based on the brand reputation of “Pre-

13   Seed.” This is also evidenced by Defendant’s repeated references to Dr. Ellington as the inventor

14   or creator of Pre-Seed (see e.g., supra at ¶¶ 38, 54, 60, 63, 67).

15            73.       Defendant also makes several false and/or misleading statements about

16   BioOrigyn’s Pre-Seed product. For example, Defendant’s website states both products are “FDA

17   approved.” The products, however, have FDA “clearance,” not approval. In addition, under the

18   heading “[w]hat is the difference between PreSeed and BabyDance?” Defendant answers

19   “BabyDance is isotonic and formulated to match the pH levels of fertile quality fluid and is made

20   27
        Pre-Seed Lubricant, Fairhaven Health, https://www.fairhavenhealth.com/preseed-multi-use
     (last visited Feb. 5, 2020), archived at WayBackMachine (Jan. 30, 2020),
21   https://web.archive.org/web/20200130003931/https://www.fairhavenhealth.com/preseed-multi-
     use; see also Pre-Seed Fertility Friendly Lubricant, Early-Pregnancy-Tests, https://www.early-
22   pregnancy-tests.com/preseed-multi-use (last visited Feb. 6, 2020), archived at
     WayBackMachine (Feb. 6, 2020),
23   https://web.archive.org/web/20200206003243/https://www.early-pregnancy-tests.com/preseed-
     multi-use.
24
     28
        Pre-Seed was available for sale on Ebay as of Jan. 29, 2020; see Purchase History,
25   Ebay.com,
     https://offer.ebay.com/ws/eBayISAPI.dll?ViewBidsLogin&item=192282801289&rt=nc&_trksi
26   d=p2047675.l2564 (last visited Feb. 6, 2020), archived at WayBackMachine (Jan. 31, 2020),
     https://web.archive.org/web/20200131215433/https://offer.ebay.com/ws/eBayISAPI.dll?ViewB
27   idsLogin&item=192282801289&rt=nc&_trksid=p2047675.l2564.
     COMPLAINT - 25                                                              LANE POWELL PC
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     CASE NO.                                                                      P.O. BOX 91302
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 1   without parabens.” A reasonable consumer would understand Defendant’s statement to mean

 2   that Pre-Seed is not isotonic, is not formulated to match the pH levels of fertile quality fluid, and

 3   is made with parabens. This is false, and therefore Defendant’s website is false and misleading.

 4   Upon information and belief, Defendant understands that Pre-Seed is isotonic, and it is pH

 5   balanced to mimic human body’s naturally fertile fluids.

 6            74.       Upon information and belief, Defendant’s deceptive business practices and false

 7   or misleading statements have damaged BioOrigyn by reducing the amount of royalties it

 8   otherwise would have earned from the sales of Pre-Seed. Notably, BioOrigyn collects royalties

 9   on sales of the Pre-Seed product. Defendant has interfered with BioOrigyn’s royalty rights

10   through deceptive trade practices. As the creator of Pre-Seed, Dr. Ellington has also suffered

11   harm to her name because of the false and/or misleading statements Defendant has made about

12   the Pre-Seed product.

13                      2.     FertilAid for Men

14            75.       Upon information and belief, using Dr. Ellington’s Name and Likeness,

15   Defendant has falsely advertised FertilAid for Men to the detriment of Dr. Ellington and

16   BioOrigyn.

17            76.       As discussed above (supra ¶ 63), according to Defendant, FertilAid for Men

18   purportedly received a “Testimonial” from Dr. Ellington after she conducted a study on the

19   product. That study is described by Defendant as an independent, placebo-controlled, “gold

20   standard” clinical study. But, as an initial matter, Defendant paid BioOrigyn to perform this

21   study, therefore, it is false and misleading to promote the study as “independent.” Furthermore,

22   upon information and belief, Defendant knew that this study was meant to be a preliminary trial,

23   small in size with a limited test population (i.e., 14 study subjects in total, with 8 of them

24   receiving FertilAid For Men and the other 6 placebo treated).             Despite this, Defendant

25   systematically promoted this study to consumers as proof that FertilAid for Men was clinically

26   validated and demonstrated to have certain effect not found in the study, purporting this study to

27   be a “gold standard” clinical trial.
     COMPLAINT - 26                                                                 LANE POWELL PC
                                                                             1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                         P.O. BOX 91302
                                                                                SEATTLE, WA 98111-9402
                                                                              206.223.7000 FAX: 206.223.7107
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 1            77.       Notably, making reference to Dr. Ellington’s study, Defendant markets FertilAid

 2   For Men as a fertility pill that is “clinically proven . . . to improve sperm count, motility and

 3   morphology” (emphasis added). 29

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11
              78.       This statement is false and misleading, because results from the clinical study
12
     explicitly disclaim finding any improvements in the morphology of sperm, the motility of sperm,
13
     or overall sperm count. As disclosed by Dr. Ellington in the Journal of Andrology, 30 the
14
     following sperm parameters were analyzed in the study: (1) total ejaculate sperm count, (2)
15
     percent motile sperm, (3) percent forward progression of motile sperm, (4) total motile sperm
16
     count, (5) percent of sperm with normal morphology, and (6) total normal-motile sperm count.
17
     The study results revealed that the “total normal-motile sperm numbers in the ejaculate”
18
     improved among the eight study subjects using FertilAid for Men. “Additionally, the total mobile
19
     sperm count also showed a tendency towards improvement.” However, “[o]ther parameters did
20
     not differ between the two groups.” 31 In other words, Dr. Ellington did not find any improvement
21

22
     29
        FertilAid for Men, Fairhaven Health, https://www.fairhavenhealth.com/fertilaid-for-men (last
23   visited Feb. 6, 2020), archived at WayBackMachine (Jan. 31, 2020),
     https://web.archive.org/web/20200131214418/https://www.fairhavenhealth.com/fertilaid-for-
24   men.
     30
        See GD Clifton and JE Ellington, Prospective study of FertilAid Vitamin in men with low
25   sperm quality, J. ANDROL, March/April Supplement, Abstract 25 (2009), available at
     https://www.fertilaid.com/wp-content/uploads/2018/02/fertile-aid-for-men-study.pdf (Exhibit
26   5).
     31
27      Id.
     COMPLAINT - 27                                                             LANE POWELL PC
                                                                         1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                     P.O. BOX 91302
                                                                               SEATTLE, WA 98111-9402
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 1   in the morphology of sperm, the motility of sperm, or overall sperm count for those who used

 2   FertilAid For Men.

 3            79.       As shown above, Defendant’s marketing statements claim the opposite.

 4   Defendant falsely and misleadingly states that using FertilAid For Men is demonstrated to

 5   improve sperm morphology, which it then refers to as sperm having “the right shape” in order to

 6   reach and fertile an egg. 32 But Dr. Ellington did not observe an increase in the “percent of sperm

 7   with normal morphology” between the control group and the group receiving FertilAid For Men,

 8   even though it was one of the tested parameters in the study.

 9            80.       Defendant also falsely claims that FertilAid for Men is clinically shown to

10   improve sperm motility. In addition to the above-identified statement, Defendant repeatedly

11   references the motility of sperm in promoting FertilAid for Men. By way of example, Fairhaven

12   has made the following false statements on its webpages titled “FertilAid For Men Clinical

13   Study”: 33
                        “The FertilAid For Men Study results indicate statistically-
14                      significant improvements in sperm motility for subjects using the
                        dietary supplement.”
15
                                                       ***
16
                        “[T]he results of this important study reveal that taking FertilAid
17                      for Men significantly increases ‘total normal sperm motility’ –
                        with a tendency toward an ‘increase in total mobile sperm count.’”
18
                                                       ***
19
                         “The results of the FertilAid study revealed a ‘significant
20                      improvement’ in the number of motile sperm, or ‘total normal
                        sperm motility.’”
21

22            81.       These statements stand in stark contrast to what was actually demonstrated in the

23   study. Dr. Ellington was clear that, aside from the total normal-motile sperm count and the total

24   motile sperm count, “[o]ther parameters did not differ between the two groups.” 34 That is, the

25
     32
        See supra at 29.
26   33
        See supra at 21.
     34
27      See supra at 30.
     COMPLAINT - 28                                                                  LANE POWELL PC
                                                                              1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                          P.O. BOX 91302
                                                                                 SEATTLE, WA 98111-9402
                                                                               206.223.7000 FAX: 206.223.7107
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 1   study explicitly did not result in any increase in motility, which, as explained by Defendant, is

 2   determined by the percentage of sperm that are moving and their capacity to “swim” in a forward

 3   direction. 35 Defendant understands the difference between having low sperm motility versus low

 4   sperm count, and distinguishes the two in its marketing materials. Despite this, Defendant

 5   informed the public that Dr. Ellington’s study proved that FertilAid for Men significantly

 6   increases sperm motility—an improvement Dr. Ellington did not find. (See supra at ¶ 78.) Upon

 7   information and belief, Defendant makes false and misleading statements spotlighting the

 8   motility and morphology of sperm because “[m]otility and morphology are also key factors

 9   besides count.” 36

10            82.       Defendant also makes false and misleading statements concerning sperm count.

11   As discussed, it was the “total normal-motile sperm numbers in the ejaculate” that was

12   “improved” among the study subjects using FertilAid for Men. The “total mobile sperm count,”

13   although observed, only “showed a tendency towards improvement.” Defendant misrepresents

14   the data to claim the number of motile sperm also experienced significant improvements or

15   marked increases, 37 then, taking one step further, states that FertilAid for Men is “clinically

16   proven . . . to improve sperm count.” 38 This again ignores what Dr. Ellington stated in the journal

17   abstract, that the other tested parameters—such as “total ejaculate sperm count”—did not differ

18   between the control group and the study subjects receiving FertilAid For Men (supra at ¶ 78).

19            83.       As the study sponsor, Defendant was well aware of the limitations of the study,

20   including that it was designed to be small and preliminary, that it demonstrated improvement in

21   only specific aspects of sperm count and the fact that Dr. Ellington called for “[l]arger studies []

22
     35
        Fairhaven Health, FertilAid For Men Supplement Facts, FertilAid.com,
23   https://www.fertilaid.com/fertilaid-men-supplement-facts (last visited Feb. 5, 2020), archived
     at WayBackMachine (Jan. 30, 2020),
24   https://web.archive.org/web/20200130011548/https://www.fertilaid.com/fertilaid-men-
     supplement-facts.
25
     36
        See supra at 29.
26   37
        See supra at 20-21.
     38
27      See supra at 29.
     COMPLAINT - 29                                                              LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                      P.O. BOX 91302
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 1   to confirm the results” when she published the study. 39 Nonetheless, Defendant went beyond the

 2   limitations of the study to stress FertilAid For Men’s purported benefits on sperm motility,

 3   morphology and overall sperm count because, upon information and belief, most couples seeking

 4   fertility assistance look to improve these aspects of sperm health as material indicators in

 5   assessing male fertility potential. By highlighting the terms “motility,” “morphology” and

 6   “sperm count,” along with words like “clinically proven” and “gold standard,” Defendant has

 7   misled the public—including those who purchase at the stores or on the websites of Target,

 8   Walgreens and Walmart—about the nature of FertilAid For Men and Dr. Ellington’s work

 9   associated thereto. 40

10            84.       In addition, Defendant claims that the FertilAid for Men “formula [] is clinically

11   validated.” 41 However, upon information and belief, the formula used for the currently marketed

12   FertilAid For Men is different than the formula examined by Dr. Ellington for her preliminary

13   study. Defendant fails to notify the purchasing public of this fact.

14
     39
15      See supra at 30.
     40
        See e.g., FertilAid For Men Fertility Supplement - 90ct, Target.com,
16   https://www.target.com/p/fertilaid-for-men-fertility-supplement-90ct/-/A-75664385 (last visited
     Feb. 6, 2020), archived at WayBackMachine (Feb. 6, 2020),
17   https://web.archive.org/web/20200206001301/https://www.target.com/p/fertilaid-for-men-
     fertility-supplement-90ct/-/A-75664385; FertilAid For Men Natural Fertility Supplement,
18   Capsules, Walgreens.com, https://www.walgreens.com/store/c/fertilaid-for-men-natural-
     fertility-supplement,-capsules/ID=prod6060700-product (last visited Feb. 10, 2020), archived
19   at WayBackMachine (Feb. 10, 2020),
     https://web.archive.org/web/20200210165952/https://www.walgreens.com/store/c/fertilaid-for-
20   men-natural-fertility-supplement,-capsules/ID=prod6060700-product; FertilAid for Men - Male
     Fertility Supplements - 3 Month Supply, Walmart.com, https://www.walmart.com/ip/FertilAid-
21   for-Men-Male-Fertility-Supplements-3-Month-Supply/652733954 (last visited Feb. 6, 2020),
     archived at WayBackMachine (Feb. 6, 2020),
22   https://web.archive.org/web/20200206000922/https://www.walmart.com/ip/FertilAid-for-Men-
     Male-Fertility-Supplements-3-Month-Supply/652733954.
23
     41
        See supra at 20; see also Fairhaven Health FertilAid for Men Capsule x90 Increase Sperm
24   Count Motility, Ebay.com, https://www.ebay.com/itm/Fairhaven-Health-FertilAid-for-Men-
     Capsule-x90-Increase-Sperm-Count-
25   Motility/192032805246?epid=2302797939&hash=item2cb60c117e:g:c7UAAOSwaEhZJKUl
     (last visited Feb. 6, 2020), archived at WayBackMachine (Jan. 31, 2020),
26   https://web.archive.org/web/20200131214752/https://www.ebay.com/itm/Fairhaven-Health-
     FertilAid-for-Men-Capsule-x90-Increase-Sperm-Count-
27   Motility/192032805246?epid=2302797939&hash=item2cb60c117e:g:c7UAAOSwaEhZJKUl.
     COMPLAINT - 30                                                              LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                      P.O. BOX 91302
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 1            85.       Defendant’s false and/or misleading advertising of FertilAid for Men harms

 2   Dr. Ellington as well as BioOrigyn because Defendant’s unauthorized use of Dr. Ellington’s

 3   Name and Likeness has inextricably linked BioOrigyn and Dr. Ellington to this product. Dr.

 4   Ellington and BioOrigyn are suffering from the false and deceptive practices Fairhaven has used

 5   to sell this product. By way of example, BioOrigyn may lose business partners and/or the peer-

 6   reviews it otherwise would have received in the process of grant application but for the false

 7   claims that impugn the integrity of Dr. Ellington.

 8                           COUNT I.     BREACH OF THE LIKENESS LICENSE

 9            86.       Plaintiffs re-allege paragraphs 1-85 as if fully set forth herein.

10            87.       The Likeness License was a valid and enforceable contract between Dr. Ellington

11   and Fairhaven. Dr. Ellington performed all of her obligations thereunder, and did not waive any

12   of its rights arising therefrom.

13            88.       Defendant terminated the Likeness License in November 2015.

14            89.       Upon termination, the Likeness License requires Defendant discontinue all use of

15   and reference to Dr. Ellington’s Name and Likeness. This requirement survives termination of

16   the agreement.

17            90.       However, Defendant breached the Likeness License by, among other things, using

18   Dr. Ellington’s Name and Likeness to endorse or approve its products including FertilAid For

19   Men, engaging in false and/or misleading advertising in the detriment of Dr. Ellington’s Name

20   and Likeness, and continuing to use her Name and Likeness after Defendant terminated the

21   agreement. See Exhibit 1, at e.g., Sections 2 and 9(i).

22            91.       Dr. Ellington has suffered actual damages as a direct and proximate result of

23   Defendant’s breach, the exact amount to be determined at trial but including, without limitation,

24   lost royalties from licensing her Name and Likeness and loss of goodwill and integrity associated

25   with her Name and Likeness (see supra at ¶¶ 32-33).

26

27
     COMPLAINT - 31                                                                     LANE POWELL PC
                                                                                 1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                             P.O. BOX 91302
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 1            92.       Unless and until Defendant is enjoined from continuing to breach its obligations

 2   under the Likeness License, Dr. Ellington will be irreparably harmed. Dr. Ellington has no

 3   adequate remedy at law.

 4        COUNT II.          FALSE ASSOCIATION IN VIOLATION OF THE LANHAM ACT

 5                                          (15 U.S.C. § 1125(a)(1)(A))

 6            93.       Plaintiffs re-allege paragraphs 1-92 as if fully set forth herein.

 7            94.       Section 43(a)(1) of the Lanham Act, 15 U.S.C. § 1125(a)(1), provides, in relevant

 8   part, that:
                        Any person who, on or in connection with any goods or services,
 9                      or any container for goods, uses in commerce any word, term,
                        name, symbol, or device, or any combination thereof, or any false
10                      designation of origin, false or misleading description of fact, or
                        false or misleading representation of fact, which—(A) is likely to
11                      cause confusion, or to cause mistake, or to deceive as to the
                        affiliation, connection, or association of such person with another
12                      person, or as to the origin, sponsorship, or approval of his or her
                        goods, services, or commercial activities by another person, . . .
13                      shall be liable in a civil action by any person who believes that he
                        or she is or is likely to be damaged by such act.
14

15            95.       Dr. Ellington is known to be a founder and principal of BioOrigyn. The Name

16   and Likeness of Dr. Ellington are well recognized in the field of fertility science and among

17   consumers who are interested in purchasing products to aid in the quest to conceive and those

18   who are conscious about their overall sexual health.

19            96.       As set forth above, Defendant has intentionally and commercially used the Name

20   and Likeness of Dr. Ellington, including by drawing false association between Defendant and

21   Dr. Ellington, e.g., making her an ongoing “Medical Health Advisor” and an expert “at

22   Fairhaven,” and by exploiting Dr. Ellington’s Name and Likeness in the marketing campaigns

23   concerning, among others, BabyIt (supra ¶¶ 45-46, 50-51, 55), IsoFresh (supra ¶¶ 47-49, 51, 56),

24   BabyDance (supra ¶ 54), and FertilAid for Men (supra ¶¶ 58-68).

25            97.       Defendant’s use of the Name and Likeness is not authorized by Dr. Ellington

26   and/or BioOrigyn. The Likeness License allowed Defendant to use Dr. Ellington’s Name and

27   Likeness only on certain Approved Products, for specified purposes—excluding product
     COMPLAINT - 32                                                                     LANE POWELL PC
                                                                                 1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                             P.O. BOX 91302
                                                                                    SEATTLE, WA 98111-9402
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 1   endorsement—and within a limited duration of time. Following termination of the Likeness

 2   License, Dr. Ellington requested that Defendant discontinue any use of her Name and Likeness

 3   no later than June 2017. But Defendant did not stop using Dr. Ellington’s Name and Likeness in

 4   commercial settings.

 5            98.       Defendant misused Dr. Ellington’s Name and Likeness at least on its websites,

 6   including brand specific websites such as MyIsoLove.com and FertilAid.com, on the online retail

 7   storefronts controlled by or operated on behalf of or for the benefits of Defendant, and through

 8   additional online platforms of its authorized or partnered distributors.            Over the years,

 9   Defendant’s exploitation of Dr. Ellington’s Name and Likeness has led to widespread

10   unauthorized use of her Name and Likeness.

11            99.       Defendant’s misuse of Dr. Ellington’s Name and Likeness is likely to confuse

12   consumers as to the relationship between Defendant and Plaintiffs, and as to Plaintiffs’ approval

13   of the various products marketed by Defendant including the IsoLove products and FertilAid for

14   Men.

15            100.      In fact, the false association drawn by Defendant through the use of Dr.

16   Ellington’s Name and Likeness has deceived a substantial segment of the relevant purchasing

17   public. For example, a social media article affirmatively introduces Dr. Ellington as a “fertility

18   expert at Fairhaven Health” (see supra at ¶ 39). A reasonable consumer would assume that

19   Dr. Ellington is associated with Defendant and that she approves the IsoLove products as

20   marketed by Defendant because, for example, Defendant uses her Name to endorse BabyIt on its

21   product packaging. Similarly, a consumer would assume that Dr. Ellington must have also

22   endorsed FertilAid For Men by virtue of her giving a “Testimonial” on Defendant’s website.

23            101.      Consumers in the quest to conceive or suffering from personal care and hygiene

24   issues are susceptible to false information and tend to regard as true product features as marketed.

25   Indeed, they will likely, and reasonably, lower their guard in the face of the statements made by

26   Defendant—one of “the most trusted providers” in the field—including believing any express or

27   implied statements that Defendant’s products have earned the approval of Dr. Ellington.
     COMPLAINT - 33                                                                LANE POWELL PC
                                                                            1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                        P.O. BOX 91302
                                                                               SEATTLE, WA 98111-9402
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 1             102.     Upon information and belief, Defendant knew that Dr. Ellington’s Name and

 2   Likeness promote or act as a catalyst for the promotion of Defendant’s products, and sought to

 3   take advantage thereof. Defendant also knew that the impression and statements it made in the

 4   advertising were false and deceptive, or at least acted in reckless disregard of their truth or falsity.

 5             103.      Defendant has misused her Name and Likeness through various online channels

 6   and further through products and marketing materials that are disseminated throughout the

 7   country and overseas, thereby causing the false association and product endorsements to enter

 8   interstate commerce.

 9             104.     As a direct and proximate result of Fairhaven’s deceptive practices, Plaintiffs have

10   suffered and will continue to suffer monetary and non-monetary damages including lost royalties

11   from licensing the Name and Likeness, and the dilution of goodwill associated with BioOrigyn

12   and the reputation pertaining to the Name and Likeness of Dr. Ellington.

13             105.     Plaintiffs therefore seek judgment in their favor and an award of actual, incidental,

14   and consequential damages as permitted by law, including punitive and treble damages,

15   Defendant’s profits or gains resulting from its willful acts of unfair competition, and interest,

16   attorneys’ fees, costs and disbursements, and all other relief permitted by law that this Court

17   deems appropriate including enjoining Defendant’s conducts that violate Section 43(a)(1) of the

18   Lanham Act, 15 U.S.C. § 1125(a)(1).

19             106.     Unless Defendant is preliminarily and permanently enjoined from the foregoing

20   conduct, Plaintiffs will be irreparably harmed, at least by Defendant continuing to use of

21   Dr. Ellington’s Name and Likeness, by loss of confidence and trust and other potential business

22   partners, loss of goodwill, and loss of reputation, integrity, professional standing and business

23   interest, and further by present economic loss, which is not fully ascertainable at this time, and

24   future economic loss which is presently not fully calculable. Plaintiffs have no adequate remedy

25   at law.

26

27
     COMPLAINT - 34                                                                    LANE POWELL PC
                                                                                1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                            P.O. BOX 91302
                                                                                   SEATTLE, WA 98111-9402
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 1        COUNT III. FALSE ADVERTISING IN VIOLATION OF THE LANHAM ACT

 2                                          (15 U.S.C. § 1125(a)(1)(B))

 3            107.      Plaintiffs re-allege paragraphs 1-106 as if fully set forth herein.

 4            108.      Section 43(a)(1) of the Lanham Act, 15 U.S.C. § 1125(a)(1), provides, in relevant

 5   part, that:
                        Any person who, on or in connection with any goods or services,
 6                      or any container for goods, uses in commerce any word, term,
                        name, symbol, or device, or any combination thereof, or any false
 7                      designation of origin, false or misleading description of fact, or
                        false or misleading representation of fact, which . . . (B) in
 8                      commercial advertising or promotion, misrepresents the nature,
                        characteristics, qualities, or geographic origin of his or her or
 9                      another person’s goods, services, or commercial activities, shall be
                        liable in a civil action by any person who believes that he or she is
10                      or is likely to be damaged by such act.
11
              109.      As set forth above, Dr. Ellington is a founder and principal of BioOrigyn, and is
12
     widely respected in the field of fertility science. Defendant appreciates the value associated with
13
     Dr. Ellington’s Name and Likeness, which is well recognized among the relevant purchasing
14
     public, and takes advantage thereof.
15
              110.      Capitalizing on the use of Dr. Ellington’s Name and Likeness, Defendant has
16
     made false statements of facts in the marketing campaigns concerning, among others, BabyIt
17
     (supra ¶¶ 70), BabyDance (supra ¶¶ 71-74), and FertilAid for Men (supra ¶¶ 75-85).
18
              111.      Defendant’s statements misrepresent the nature, characteristics and qualities of its
19
     products and services. In particular, without limitation, Defendant advertises FertilAid For Men
20
     as a super fertility pill that is clinically proven in an independent study to significantly increase
21
     sperm count, motility, as well as morphology. This concerns the core feature of the product, but
22
     is false. In fact, Defendant’s statement stands in stark contrast to the results of the clinical study,
23
     which is, as advertised in Defendant’s marketing materials, conducted by Dr. Ellington.
24
              112.      As a further example, quoting Dr. Ellington on the BabyIt packaging, Defendant
25
     markets BabyIt as having no irritation potential. This concerns the core feature of the product,
26

27
     COMPLAINT - 35                                                                     LANE POWELL PC
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 1   but customer complaints have shown this to be false and misleading. In fact, irritation has

 2   bothered a number of customers using BabyIt.

 3            113.      In addition, Defendant promotes BabyDance by comparing it with its competing

 4   product Pre-Seed, indicating that Pre-Seed is not isotonic and not pH-balanced. This concerns

 5   key characteristics of Pre-Seed, but is false and misleading. Pre-Seed is known for being isotonic

 6   and pH balanced, which is why it is the first and leading fertility lubricant on the market.

 7            114.      The foregoing false and/or misleading statements made by Defendant are material

 8   in that they affect the purchasing decisions of the relevant public. For example, Defendant’s

 9   false statements urge customers who are concerned about having reduced sperm motility and/or

10   having abnormal morphology to purchase FertilAid for Men—a purchasing decision some of

11   them would not have made if limitations of the product were truly delineated. Consumers may

12   also elect not to purchase FertilAid For Men should they learn about the fact that Fairhaven

13   funded the clinical study that it claims to be independent or that the formula of the product has

14   changed after the study.

15            115.      In addition, customers who are in need of fertility lubricants may choose

16   BabyDance over Pre-Seed based on the statements that only BabyDance has the qualities of being

17   isotonic and a pH that matches the pH levels of fertile quality fluid.

18            116.      As another example, some consumers would be less likely to purchase or continue

19   to purchase BabyIt for personal use should they know—contrary to what’s claimed on

20   Defendant’s website and purportedly stated by Dr. Ellington on the product packaging—it is

21   possible that using the product might cause irritation.

22            117.      As discussed above, Defendant makes the foregoing false and/or misleading

23   statements in advertising and promotional materials such as on its websites, including brand

24   specific websites like MyIsoLove.com and FertilAid.com, on the online retail storefronts

25   controlled by or operated on behalf of or for the benefits of Defendant, and through additional

26   online platforms and/or retail stores of its partnered distributors such as Target and Walgreens.

27   Defendant made false and/or misleading statements in commercial settings and intended its
     COMPLAINT - 36                                                                  LANE POWELL PC
                                                                              1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                          P.O. BOX 91302
                                                                                 SEATTLE, WA 98111-9402
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 1   statements to be widely disseminated to influence consumers—such as those who are in the quest

 2   to conceive and who are conscious about overall sexual health—to purchase Defendant’s

 3   products or services.

 4            118.      Upon information and belief, Defendant knew that the statements it made in the

 5   advertising and/or the impression likely drawn from its statements are false and misleading, or

 6   acted in reckless disregard of their truth or falsity.

 7            119.      Upon information and belief, Defendant also knew or should have known that

 8   people who are in the quest to conceive or suffering from personal care and hygiene issues can

 9   be more susceptible to false information and regard as true product features as marketed.

10   Therefore, Defendant understands that its statements have actually deceived or have the tendency

11   to deceive a substantial segment of its audience.

12            120.      Nevertheless, along with the widespread unauthorized use of Dr. Ellington’s

13   Name and Likeness, Defendant has engaged in false advertising across various online channels

14   and throughout the country and overseas, thereby causing its false statements to enter interstate

15   commerce.

16            121.      As a direct and proximate result of Defendant’s false advertising, Plaintiffs have

17   suffered and will continue to suffer monetary and non-monetary damages, including in the form

18   of lost royalties from BabyIt upon the public discovering Defendant’s deceptive business

19   practices, by direct diversion of sales from Pre-Seed to the BabyDance product, and loss of

20   business interest. In addition, Plaintiffs have suffered and will continue to suffer damages from

21   a lessening of goodwill associated with Pre-Seed and BabyIt, and from the reputational harm

22   pertaining to Dr. Ellington’s Name and Likeness and reflecting on BioOrigyn, including injuries

23   to professional standing as well as reputation for integrity.

24            122.      Plaintiffs therefore seek judgment in their favor and an award of actual, incidental,

25   and consequential damages as permitted by law, including punitive and treble damages,

26   Defendant’s profits or gains resulting from its willful acts of unfair competition, and interest,

27   attorneys’ fees, costs and disbursements, and all other relief permitted by law that this Court
     COMPLAINT - 37                                                                    LANE POWELL PC
                                                                                1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                            P.O. BOX 91302
                                                                                   SEATTLE, WA 98111-9402
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 1   deems appropriate including enjoining Defendant’s conducts that violate Section 43(a)(1) of the

 2   Lanham Act, 15 U.S.C. § 1125(a)(1).

 3            123.      Unless Defendant is preliminarily and permanently enjoined from the foregoing

 4   conduct, Plaintiffs will be irreparably harmed, at least by Defendant continuing to use of Dr.

 5   Ellington’s Name and Likeness in its deceptive commercial practices, by loss of confidence and

 6   trust and other potential scientific and/or business partners, loss of goodwill, and loss of

 7   reputation, integrity, professional standing and business interest, and further by present economic

 8   loss, which is not fully ascertainable at this time, and future economic loss which is presently not

 9   fully calculable. Plaintiffs have no adequate remedy at law.

10                    COUNT IV. INFRINGEMENT OF PERSONALITY RIGHTS

11                                    (Wash. Rev. Code § 63.60.010, et seq.)

12            124.      Plaintiffs re-allege paragraphs 1-123 as if fully set forth herein.

13            125.      As set forth above, Fairhaven has, without authorization, exploited Dr. Ellington’s

14   Name and Likeness, as well as certain distinctive and original attributes of Dr. Ellington. For

15   example, Fairhaven quoted Dr. Ellington on the packaging of its products, and systematically

16   drew an association with Dr. Ellington across online platforms through the use of her Name and

17   Likeness.

18            126.      Such use was not authorized. Any limited authorization granted to Fairhaven by

19   virtue of the Likeness License or otherwise on an ad hoc basis has expired in its entirety. Dr.

20   Ellington unequivocally requested that Fairhaven stop all use of her Name and Likeness no later

21   than June 2017.

22            127.      The misappropriation encompasses a plethora of marketing activities of

23   Fairhaven, and is intended to benefit Fairhaven, at least through an increase in the sales of its

24   products such as BabyIt (supra ¶¶ 45-46, 50-51, 55), IsoFresh (supra ¶¶ 47-49, 51, 56),

25   BabyDance (supra ¶ 54), and FertilAid for Men (supra ¶¶ 58-68), and through the gain in

26   Defendant’s reputation by trading on Dr. Ellington’s reputation and goodwill.

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 1            128.      As a direct and proximate result of Fairhaven’s misappropriation, the good faith

 2   and reputation of Dr. Ellington is tarnished among peer scientists and the public. Dr. Ellington

 3   along with BioOrigyn, the company she founded, have suffered and will continue to suffer

 4   monetary and non-monetary losses under Washington law, including without limitation, profits

 5   that are attributable to the misappropriation.

 6            129.      Unless Defendant is preliminarily and permanently enjoined from the foregoing

 7   conduct, Plaintiffs will be irreparably harmed, at least by Defendant continuing to use of Dr.

 8   Ellington’s Name and Likeness and continuing its deceptive commercial practices, by loss of

 9   confidence and trust and other potential business partners, loss of goodwill, and loss of

10   reputation, integrity, professional standing and business interest, and further by present economic

11   loss, which is not fully ascertainable at this time, and future economic loss which is presently not

12   fully calculable. Plaintiffs have no adequate remedy at law.

13    COUNT V.           UNFAIR BUSINESS PRACTICES IN VIOLATION OF WASHINGTON
                                 CONSUMER PROTECTION ACT
14
                                      (Wash. Rev. Code § 19.86.020, et seq.)
15
              130.      Plaintiffs re-allege paragraphs 1-129 as if fully set forth herein.
16
              131.      As set forth above, Dr. Ellington is a founder and principal of BioOrigyn, and is
17
     widely respected in the field of fertility science. Defendant appreciates the value associated with
18
     Dr. Ellington’s Name and Likeness, which is well recognized among the relevant purchasing
19
     public, and takes advantage thereof. Among others, Defendant has made false statements and
20
     engaged in deceptive business practices concerning the sales of BabyIt (supra ¶¶ 70), BabyDance
21
     (supra ¶¶ 71-74), and FertilAid for Men (supra ¶¶ 75-85).
22
              132.      Defendant’s conducts and trade practices have the capacity to deceive a
23
     substantial portion of the public. For example, Defendant advertises FertilAid For Men as being
24
     clinically proven to significantly improve sperm count, motility and morphology, but in fact the
25
     study explicitly disclaimed finding such improvements. Defendant’s statement misrepresents the
26
     core feature of FertilAid for Men, and may therefore deceive a large number of customers who
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     COMPLAINT - 39                                                                     LANE POWELL PC
                                                                                 1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                             P.O. BOX 91302
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 1   are concerned about having reduced sperm motility and/or morphology into purchasing the

 2   product.

 3            133.      As a further example, Defendant continues to include a product endorsement on

 4   the packaging of BabyIt to promote its non-irritating formula when in fact irritation has bothered

 5   a number of users of BabyIt. This misrepresents a material aspect of the product, and may

 6   therefore deceive more consumers into purchasing or re-purchasing BabyIt for its non-irritation

 7   potential.

 8            134.      In addition, Defendant promotes BabyDance by comparing the product with Pre-

 9   Seed, indicating that Pre-Seed is not isotonic and not pH-balanced—which it is. This again

10   misrepresents key characteristics of the products. As a result, customers who are in need of

11   fertility lubricants may choose BabyDance over Pre-Seed.

12            135.      Upon information and belief, Defendant knew its statements and/or the

13   impression likely drawn from its statements are false and misleading, or acted in reckless

14   disregard of their truth or falsity. Defendant also knew or should have known that people who

15   are in the quest to conceive or suffering from personal care and hygiene issues can be more

16   susceptible to deceptive business practices and regard as true product features as marketed. Thus,

17   Defendant understands that the statements it made and the associated trade practices have

18   actually deceived or at least have the capacity to deceive a substantial portion of the public.

19            136.      Defendant’s foregoing deceptive business practices occurred in the conduct of

20   trade or commerce, as they are directed to the sales and promotion of its products including

21   BabyIt, BabyDance, and FertilAid for Men. As discussed above, Defendant makes false and/or

22   misleading statements in advertising and promotional materials such as on its websites, including

23   brand specific websites like MyIsoLove.com and FertilAid.com, on the online retail storefronts

24   controlled by or operated on behalf of or for the benefits of Defendant, and through additional

25   online platforms and/or retail stores of its partnered distributors such as Target and Walgreens.

26            137.      In particular, but without limitation, Defendant made false and/or misleading

27   statements in commercial settings and intended its statements to be widely disseminated to urge
     COMPLAINT - 40                                                                LANE POWELL PC
                                                                            1420 FIFTH AVENUE, SUITE 4200
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 1   consumers into purchasing Defendant’s products. Thus, along with the widespread unauthorized

 2   use of Dr. Ellington’s Name and Likeness, Defendant has engaged in false advertising that

 3   directly or indirectly affects consumers in the state of Washington.

 4            138.      Defendant’s deceptive business practices have affected the public interest. As set

 5   forth above, Defendant has misused Dr. Ellington’s Name and Likeness in a manner that both

 6   violates the Lanham Act and infringes the personality rights protected under Washington law,

 7   which evidences public deception and confusion caused by Defendant’s conducts. In addition,

 8   the misuse of Dr. Ellington’s Name and Likeness and Defendant’s other deceptive practices serve

 9   a common goal—i.e., to promote products and services of Defendant to the public. As discussed,

10   Defendant has routinely and systematically engaged in deceptive acts in the course of selling and

11   promoting its products including BabyIt, BabyDance, and FertilAid for Men. This pattern of

12   deceptive conducts has caused and will continue to cause deception or confusion to the detriment

13   of public interest. For example, due to Defendant’s false advertising, consumers may purchase

14   FertilAid For Men in the hope to solve the sperm motility and/or morphology issues they are

15   struggling with. It is also likely that consumers purchase BabyIt believing in its non-irritation

16   potential but later experience the opposite. Moreover, Defendant casts doubt on public health by

17   mischaracterizing the nature of BabyDance and Pre-Seed, including falsely stating that the

18   fertility lubricant products are “approved” by the FDA and that Pre-Seed is not isotonic or pH

19   balanced. Consumers may suffer further from a lack or reduced level of competition because of

20   Defendant’s deceptive business practices in the promotion of BabyDance.

21            139.      As a direct and proximate result of Defendant’s deceptive business practices,

22   Plaintiffs have suffered and will continue to suffer monetary and non-monetary damages,

23   including in the form of lost royalties from BabyIt upon the public discovering Defendant’s

24   deceptive business practices, by direct diversion of sales from Pre-Seed to the BabyDance

25   product, and loss of business interest. In addition, Plaintiffs have suffered and will continue to

26   suffer damages from a lessening of goodwill associated with Pre-Seed and BabyIt, and from the

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     COMPLAINT - 41                                                                  LANE POWELL PC
                                                                              1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                          P.O. BOX 91302
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 1   reputational harm pertaining to Dr. Ellington’s Name and Likeness and reflecting on BioOrigyn,

 2   including injuries to professional standing as well as reputation for integrity.

 3            140.      Plaintiffs therefore seek judgment in their favor and an award of actual, incidental,

 4   and consequential damages as permitted by law, including punitive and treble damages,

 5   Defendant’s profits or gains resulting from its willful acts of unfair competition, and interest,

 6   attorneys’ fees, costs and disbursements, and all other relief permitted by law that this Court

 7   deems appropriate including enjoining Defendant’s conducts that violate Washington Consumer

 8   Protection Act.

 9            141.      Unless Defendant is preliminarily and permanently enjoined from the foregoing

10   conduct, Plaintiffs will be irreparably harmed, at least by Defendant continuing to use of Dr.

11   Ellington’s Name and Likeness in its deceptive commercial practices, by loss of confidence and

12   trust and other potential scientific and/or business partners, loss of goodwill, and loss of

13   reputation, integrity, professional standing and business interest, and further by present economic

14   loss, which is not fully ascertainable at this time, and future economic loss which is presently not

15   fully calculable. Plaintiffs have no adequate remedy at law.

16                                          PRAYER FOR RELIEF

17            1.        Plaintiffs respectfully request that this Court enter a judgment in their favor and

18   grant the following relief:

19            2.        A finding that Defendant Fairhaven breached the Likeness License;

20            3.        A finding that Defendant Fairhaven engaged in false association and false

21   advertising in violation of Lanham Act 15 U.S.C. § 1125(a)(1);

22            4.        A finding that Defendant Fairhaven infringed the propriety right of Dr. Ellington

23   in violation of Wash. Rev. Code § 63.60.050;

24            5.        A finding that Defendant Fairhaven engaged in deceptive business practices in

25   violation of Wash. Rev. Code § 19.86.020;

26            6.        An order and judgment awarding Plaintiffs the actual, incidental, consequential

27   damages, and all other relief as permitted by Washington law;
     COMPLAINT - 42                                                                    LANE POWELL PC
                                                                                1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                            P.O. BOX 91302
                                                                                   SEATTLE, WA 98111-9402
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 1            7.        Injunctive relief immediately and permanently ordering Defendant Fairhaven

 2   cease and desist its deceptive business practices, including removing all references to Dr.

 3   Ellington—including all use of her Name and Likeness and all use of her original words or

 4   attributes—from the packaging of Fairhaven’s products and from all media platforms within

 5   Fairhaven’s reasonable control, such as websites controlled by or operated on behalf of or for the

 6   benefits of Fairhaven, and removing all statements in the promotional or marketing materials that

 7   are false and/or misleading;

 8            8.        An order declaring this case exceptional and awarding Plaintiffs their reasonable

 9   attorneys’ fees and costs in accordance with 15 U.S.C. § 1117 and Wash. Rev. Code § 63.60.060;

10   and

11            9.        Any other relief that the Court may deem appropriate and just under the

12   circumstances.

13            Dated this 24th day of February 2020.

14

15                                                        /s/ Tiffany Scott Connors
                                                          Tiffany Scott Connors, WSBA #41740
16                                                        connorst@lanepowell.com
                                                          LANE POWELL PC
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18
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25                                                   Attorney for Plaintiffs Bio-Origyn, LLC, Joanna
                                                     Ellington Clifton
26

27
     COMPLAINT - 43                                                                 LANE POWELL PC
                                                                             1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                         P.O. BOX 91302
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 1                                    CERTIFICATE OF SERVICE

 2          The undersigned certifies under penalty of perjury under the laws of the State of

 3   Washington, that on the 24th day of February 2020, the foregoing document was presented to the

 4   Clerk of the Court for filing and uploading to the CM/ECF system, which will send notification

 5   of such filing to all counsel of record.

 6
            DATED this 24th day of February, 2020, at Seattle, Washington.
 7

 8                                          /s/Tiffany Scott Connors
                                            Tiffany Scott Connors
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     COMPLAINT - 44                                                             LANE POWELL PC
                                                                         1420 FIFTH AVENUE, SUITE 4200
     CASE NO.                                                                     P.O. BOX 91302
                                                                            SEATTLE, WA 98111-9402
                                                                          206.223.7000 FAX: 206.223.7107
